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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE

         Boland Marine & Industrial, LLC,                   §
                                                            §
                 Plaintiff,                                 §
                                                            §   CIVIL ACTION NO.: 1:20-cv-101-UNA
         vs.                                                §
                                                            §   IN ADMIRALTY, Rule 9(h)
         Bouchard Transportation Co., Inc., et al.,         §
                                                            §
                 Defendant and Garnishees.                  §

                                      FOR ADMISSION PRO HAC VICE

                 Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

         pro hac vice of J. Stephen Simms to represent Boland Marine & Industrial, LLC.

                                               YOUNG CONAWAY STARGATT & TAYLOR LLP

                                                 /s/ Timothy Jay Houseal
                                                ____________________________________
                                                Timothy Jay Houseal (Del. Bar ID No. 2880)
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, DE 19801
                                                (302) 571-3267
                                                thouseal@ycst.com

                                                Attorneys for Boland Marine & Industrial, LLC

         Dated: January 23, 2020


                                         ORDER GRANTING MOTION

                 IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




         Date:__________                              _________________________
                                                      United States District Judge




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                  CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

                 Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
         admitted, practicing and in good standing as a member of the Bar of Maryland and pursuant to
         Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged misconduct
         which occurs in the preparation or course of this action. I also certify I am generally familiar
         with this Court's Local Rules. In accordance with Standing Order for District Court Fund
         effective 1/1/05, I further certify that the annual fee of $25.00 has been paid _X__ to the Clerk of
         Court (paid 1/8/2020, receipt #0311-2819560), or, if not paid previously, the fee payment will be
         submitted to the Clerk’s Office upon the filing of this motion.

         Dated: January 23, 2020.



                                                               Signed:
                                                               J. Stephen Simms
                                                               Simms Showers LLP
                                                               201 International Circle, Ste. 250
                                                               Baltimore, Maryland 21030
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                                                               jssimms@simmsshowers.com




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